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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


In re EPIPEN (EPINEPHRINE
INJECTION, USP) MARKETING,
SALES PRACTICES AND                                       2:17-md-2785
ANTITRUST LITIGATION                                      MDL 2785

---------------------------------------------------

SANOFI-AVENTIS US, LLC,                                   2:17-cv-2452
                Plaintiff

v.
                                                          DEMAND FOR JURY TRIAL
MYLAN INC., et al.,
                           Defendants.

This document applies to the Sanofi case.


              ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
                   OF MYLAN INC. AND MYLAN SPECIALTY L.P.

         Defendants Mylan Inc. and Mylan Specialty L.P. (collectively, “Mylan”), by and through

their attorneys, Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP, hereby answer the

Complaint as follows:

                                     PRELIMINARY STATEMENT

         A.       Mylan N.V., through its subsidiaries, is one of the world’s leading manufacturers

of generic drugs. Since its founding in 1961, Mylan’s success has been built on three principles:

producing high quality medicines, significantly expanding access to those medicines, and

helping to lower health care costs.

         B.       In the United States, Mylan sells billions of doses annually of 635 products across

all of its specialty and generic products, including the EpiPen® and EpiPen Jr® (collectively,

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“EpiPen”) Auto-Injectors. In the developing world, for example, approximately half of all

patients receiving treatment for HIV depend on a Mylan antiretroviral medication every day.

Today, Mylan supplies more than 10% of the generic drugs used by U.S. patients—products that

play a vital role in lowering the costs of prescription drugs in the U.S. healthcare system. In

short, access to medicine is at the core of Mylan’s mission.

        C.      In 2007, Mylan acquired the predecessor to Mylan Specialty, Dey Pharma L.P.,

which had the rights to market EpiPen products. In 2013, Plaintiff Sanofi-Aventis U.S. LLC

(“Plaintiff” or “Sanofi”) began marketing a competing epinephrine auto-injector called Auvi-Q®

(“Auvi-Q”).

        D.      During the time Sanofi marketed the product, Auvi-Q was a failure. In fact,

Sanofi was forced to withdraw the product from the market entirely in 2015 because of defects

that caused potentially inaccurate dosage delivery, including failure to deliver the drug at all—a

potentially catastrophic defect that Sanofi acknowledged could result in “significant health

consequences, including death[.]”1

        E.      Auvi-Q also failed because of Sanofi’s pricing strategy. Rather than price Auvi-Q

at a low price in order to gain market share as a new entrant, Sanofi sold Auvi-Q at a Wholesale

Acquisition Cost (“WAC”) that was higher than the price of EpiPen products and pursued

aggressive price increases throughout the time it marketed Auvi-Q.

        F.      Yet, instead of taking responsibility for the shortcomings in its product and

pricing strategy, Sanofi has undertaken an aggressive campaign to wrongly blame Mylan for its

own failures. Sanofi’s Complaint against Mylan in this case is a prime example. The claims



1
        Updated: Sanofi US Issues Voluntary Nationwide Recall of All Auvi-Q Due to Potential Inaccurate Dosage
Delivery (Oct. 30, 2015), http://www.news.sanofi.us/2015-10-28-Sanofi-US-Issues-Voluntary-Nationwide-Recall-
of-Auvi-Q-Due-to-Potential-Inaccurate-Dosage-Delivery.

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Sanofi asserts in its Complaint are baseless. And Sanofi’s depiction of itself as a helpless victim

of Mylan Specialty’s alleged “PBM rebating” is wholly counterfactual.

        G.      Sanofi bases its claims on supposedly “unprecedented” rebates that Mylan

Specialty allegedly offered and/or paid to Pharmacy Benefit Managers (“PBMs”), claiming that

Mylan offered “extremely large rebates” in the “30% or higher” range that “were conditioned on

exclusivity.” The irony of Sanofi’s allegations against Mylan is difficult to overstate. In a recent

Credit Suisse report examining the rebating practices of 25 leading pharmaceutical

manufacturers, Sanofi was named as one of four companies with “the highest levels of rebating

in 2015, all >49%.”2 In fact, Sanofi itself recently argued in another case, Eisai, Inc. v. Sanofi

Aventis U.S. LLC, 821 F.3d 394 (3d Cir. 2016), that rebates like those Sanofi now complains of

are pro-competitive. And Sanofi is currently being sued by diabetes patients in the District of

New Jersey for the very same conduct of which it complains here: allegedly providing “steep

rebates” to PBMs “in exchange for preferred formulary positions” on three Sanofi products –

Lantus, Apidra, and Toujeo.

        H.      Sanofi’s Complaint fails as a matter of law, is demonstrably false, and should be

summarily dismissed on the merits. And contrary to the tale that Sanofi tries to spin, it is Sanofi

that engaged in unfair competition when marketing Auvi-Q.                   Mylan therefore states the

following Answer, Affirmative Defenses, and Counterclaims to Sanofi’s Complaint.

                                        NATURE OF ACTION

        1.      Mylan admits that Plaintiff purports to bring a suit against Mylan for damages,

trebled under United States antitrust law, but denies that Plaintiff is entitled to any relief. Mylan

admits that Mylan Specialty L.P. sells epinephrine auto-injector (“EAI”) drug devices in the

2
         Credit Suisse, Equity Research Global Pharmaceuticals & Biotechnology (May 17, 2016) at 2. Sanofi’s
average rebates in 2014 were similarly high, at 43%. Id.

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United States and that Plaintiff began selling a product known as Auvi-Q in 2013. Mylan denies

the remaining allegations contained in Paragraph 1 of the Complaint.

        2.      Mylan admits the first three sentences of Paragraph 2.         Mylan denies the

remaining allegations contained in Paragraph 2 as stated.        Mylan avers that intramuscular

epinephrine is the first-line therapy for anaphylaxis, as designated by the National Institute of

Allergy and Infectious Diseases (“NIAID”). Mylan further avers that doctors recommend that

patients known to be at risk for anaphylaxis carry epinephrine auto-injector devices and be

trained in their use.

        3.      Mylan admits that on or around December 18, 2012, Mylan issued a press release

and states that the content of the press release speaks for itself. Mylan denies the remaining

allegations contained in Paragraph 3 of the Complaint.

        4.      Mylan denies that Auvi-Q represented a novel and advanced EAI drug device.

Mylan admits that Auvi-Q included voice instructions. Mylan lacks knowledge or information

sufficient to form a belief concerning the truth of the remaining allegations in Paragraph 4 of the

Complaint, and therefore denies the same.

        5.      Mylan denies the allegations contained in Paragraph 5 of the Complaint.

        6.      Mylan denies the allegations contained in Paragraph 6 of the Complaint.

        7.      Mylan denies the allegations contained in Paragraph 7 of the Complaint.

        8.      Mylan admits that the March 1, 2017 Annual Report of Mylan N.V. exists and

states that the content of the Annual Report speaks for itself. Mylan admits that its Chief

Executive Officer, Heather Bresch, testified before the U.S. Congress about EpiPen devices.

Mylan denies the remaining allegations contained in Paragraph 8 of the Complaint.




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       9.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations contained in Paragraph 9 of the Complaint relating to Auvi-Q’s market

share when it was “on formulary at similar co-pay terms to the EpiPen,” or on formularies with

“open access,” and therefore denies the same. Mylan denies the remaining allegations contained

in Paragraph 9 of the Complaint.

       10.     Mylan admits that Plaintiff sold Auvi-Q in the United States from January 2013

until October 2015. Mylan admits that Plaintiff seeks damages, and attorney’s fees and costs, for

bringing this action, but denies that Plaintiff is entitled to any relief. Mylan denies the remaining

allegations contained in Paragraph 10 of the Complaint.

                                         THE PARTIES

       11.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 11 of the Complaint, and therefore denies the same.

       12.     Mylan admits that Mylan Inc. is an indirect wholly owned subsidiary of Mylan

N.V., that Mylan N.V.’s principal executive offices are located in Hatfield, Hertfordshire,

England, and that Mylan N.V.’s global headquarters are located in Canonsburg, Pennsylvania.

Mylan denies the remaining allegations contained in Paragraph 12 of the Complaint.

       13.     Mylan denies the allegations contained in Paragraph 13 of the Complaint.

       14.     Mylan denies the allegations contained in Paragraph 14 of the Complaint.

                                 JURISDICTION AND VENUE

       15.     Paragraph 15 of the Complaint contains legal assertions relating to jurisdiction as

to which no response is required. To the extent a response is required, Mylan admits that this

Court has jurisdiction over claims asserted under the Sherman Act.




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        16.      Paragraph 16 of the Complaint contains legal assertions relating to venue as to

which no response is required. To the extent a response is required, Mylan admits that this case

is properly before the United States District Court for the District of Kansas pursuant to the

Transfer Order entered by the United States Judicial Panel on Multidistrict Litigation on August

4, 2017. See Transfer Order (ECF No. 38). Mylan denies the remaining allegations contained in

Paragraph 16 of the Complaint.

                                      INTERSTATE COMMERCE

        17.      Mylan admits that EpiPen devices are marketed and sold in interstate commerce.

                                      FACTUAL BACKGROUND

    A. Anaphylaxis is a Life-Threatening Medical Condition3

        18.      Mylan admits the allegations contained in Paragraph 18 of the Complaint.

        19.      Mylan admits that the articles, “Anaphylaxis in America: The Prevalence and

Characteristics of Anaphylaxis in the United States” and “Epidemiology of Anaphylaxis” exist

and states that the content of the articles speaks for itself. Mylan lacks knowledge or information

sufficient to form a belief concerning the truth of the remaining allegations in Paragraph 19 of

the Complaint, and therefore denies the same.

        20.      Mylan admits that on or around October 17, 2012, Mylan issued a press release

stating that anaphylaxis causes an estimated 1,500 deaths each year. Mylan admits that it has

stated that 43 million patients are at risk of anaphylaxis. Mylan admits that a September 8, 2016

letter from Mylan to Senator Charles E. Grassley states that “1 in 13 children [are] affected by

food allergies.”



3
         The allegations contained in the heading for Part A of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan admits that
anaphylaxis is a life-threatening medical condition.

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    B. EAI Drug Devices are a Relevant Product Market as the Recognized First-Line
       Treatment for Anaphylaxis4

        21.      Mylan denies the first two sentences of Paragraph 21 as stated, but avers that

intramuscular epinephrine is the first-line therapy for anaphylaxis, as designated by NIAID.

Mylan further avers that “Guidelines for the Diagnosis and Management of Food Allergy in the

United States: Report of the NIAID-Sponsored Expert Panel” exists and states that the document

speaks for itself. Mylan admits the remaining allegations contained in Paragraph 21 of the

Complaint.

        22.      Mylan denies the last sentence of Paragraph 22 as stated, but avers that doctors

recommend patients known to be at risk for anaphylaxis carry epinephrine auto-injector devices

and be trained in their use. Mylan admits the remaining allegations contained in Paragraph 22 of

the Complaint.

        23.      Mylan denies the second sentence of Paragraph 23. Mylan admits the remaining

allegations contained in Paragraph 23 of the Complaint.

    C. Regulatory and Other Barriers to Entry Exist for EAI Drug Devices5

        24.      Mylan denies the allegations contained in Paragraph 24 of the Complaint.

        25.      The allegations in Paragraph 25 of the Complaint state legal conclusions as to

which no response is required.           To the extent a response is required, Mylan admits that

epinephrine auto-injectors must be prescribed by a medical professional and may not be sold in




4
         The allegations contained in the heading for Part B of the Factual Background of the Complaint state a
legal conclusion as to which no response is required. To the extent a response is required, Mylan denies the
allegations.
5
         The allegations contained in the heading for Part C of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.



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the United States absent FDA approval. However, Mylan denies any legal conclusions based on

the FDA approval requirements for purposes of antitrust law or this matter.

         26.      Mylan admits that proper training in how to use EpiPen products is important and

that many caregivers and physicians are trained to use EpiPen products. Mylan denies the

remaining allegations contained in Paragraph 26 of the Complaint.

         27.      Mylan admits that there have been other competitors to EpiPen products, which

have been sold at various times. Mylan denies the remaining allegations contained in Paragraph

27 of the Complaint.

         28.      Mylan admits that Teva has not launched a generic epinephrine auto-injector

device, but denies that a patent infringement lawsuit delayed its launch. Mylan admits that Teva

has not obtained FDA approval for a generic epinephrine auto-injector device. Mylan admits

that its CEO, Heather Bresch, made statements during Mylan Inc.’s August 1, 2013 Investor Day

presentation but denies Plaintiff’s characterization of those statements. Mylan admits that on or

around January 16, 2015, Mylan filed a citizen petition with the FDA and states that the content

of the petition speaks for itself. Mylan admits that on or around June 15, 2015, the FDA issued a

letter in response to Mylan’s citizen petition and states that the content of the letter speaks for

itself. Mylan lacks knowledge or information sufficient to form a belief concerning the truth of

the remaining allegations in Paragraph 28 of the Complaint, and therefore denies the same.

    D. The Overwhelming Majority of U.S. EAI Drug Device Sales are Made to Patients
       with Coverage from Third-Party Payors6




6
         The allegations contained in the heading for Part D of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan lacks
knowledge or information sufficient to form a belief concerning the truth of the allegations, and therefore denies the
same.



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       29.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 29 of the Complaint, and therefore denies the same.

       30.     Mylan denies the allegations contained in Paragraph 30 as stated. Mylan avers

that PBMs, among other things, administer pharmaceutical benefits on behalf of their clients,

which may include health plans. Mylan further avers that commercial health insurance providers

typically provide pharmaceutical benefits to their customers, which may include health plans or

individuals.

       31.     Mylan admits that the article, “Trends in Employer-Provided Prescription-Drug

Coverage” exists and states that the content of the article speaks for itself.       Mylan lacks

knowledge or information sufficient to form a belief concerning the truth of the remaining

allegations in Paragraph 31 of the Complaint, and therefore denies the same.

       32.     The allegations contained in Paragraph 32 of the Complaint relate to a claim that

has been dismissed pursuant to the Court’s December 21, 2017 Order granting in part

Defendants’ motion to dismiss, and therefore no response is required. ECF No. 98 at 23 (“The

court thus dismisses Sanofi’s exclusive dealing claims based on discounts or rebates provided to

state-based Medicaid agencies because they are barred by the Noerr-Pennington doctrine.”). To

the extent a response is required, Mylan lacks knowledge or information sufficient to form a

belief concerning the truth of the allegations in Paragraph 32 of the Complaint, and therefore

denies the same.

       33.     Mylan admits that many patients receive health insurance coverage through

employer-sponsored plans. Mylan lacks knowledge or information sufficient to form a belief

concerning the truth of the remaining allegations in Paragraph 33 of the Complaint, and therefore

denies the same.



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    E. Third-Party Payors Drive EAI Drug Device Sales in the United States Based on
       Their Formularies7

         34.      Mylan admits that the U.S. Department of Justice (“DOJ”) and Federal Trade

Commission (“FTC”) report, “Improving Health Care: A Dose of Competition” exists and states

that the content of the report speaks for itself.

         35.      The allegations in Paragraph 35 of the Complaint relate to a claim that has been

dismissed, and therefore, no response is required. See supra Paragraph 32. To the extent a

response is required, Mylan lacks knowledge or information sufficient to form a belief

concerning the truth of the allegations as stated in Paragraph 35 of the Complaint, and therefore

denies the same.

         36.      Mylan admits that the U.S. General Accounting Office (“GAO”) report, “Effects

of Using Pharmacy Benefit Managers (“PBMs”) on Health Plans, Enrollees, and Pharmacies”

exists and states that the content of the report speaks for itself. Mylan lacks knowledge or

information sufficient to form a belief concerning the truth of the remaining allegations in

Paragraph 36 of the Complaint, and therefore denies the same.

         37.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 37 of the Complaint, and therefore denies the same.

    F. Mylan’s EAI Drug Device $1 Billion Monopoly8

         38.      Mylan denies the allegations contained in Paragraph 38 of the Complaint as

stated. Mylan avers that EpiPen Auto-Injector was first sold in or around 1980. Mylan further
7
         The allegations contained in the heading for Part E of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan lacks
knowledge or information sufficient to form a belief concerning the truth of the allegations, and therefore denies the
same.
8
         The allegations contained in the heading for Part F of the Factual Background of the Complaint involve
introductory material, and state a legal conclusion, as to which no response is required. To the extent a response is
required, Mylan denies the allegations.



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avers that Mylan Specialty L.P. and/or its predecessors have marketed EpiPen Auto-Injectors in

the United States since 2007.

        39.      Mylan admits the allegations in the first sentence in Paragraph 39 of the

Complaint. Mylan denies the allegations contained in the second sentence in Paragraph 39 of the

Complaint. Mylan admits that on or around December 18, 2012, it issued a press release and

states that the content of the press release speaks for itself. Mylan admits that on or around

August 1, 2013, it made a presentation to investors and states that the content of the presentation

speaks for itself.

        40.      As to the first sentence of Paragraph 40 of the Complaint, it states a legal

conclusion as to which no response is required. To the extent a response is required, Mylan

denies the allegations. Mylan denies the remaining allegations contained in Paragraph 40 of the

Complaint.

        41.      Mylan admits that the March 1, 2017 Annual Report of Mylan N.V. exists and

states that the content of the Annual Report speaks for itself. Mylan denies the remaining

allegations contained in Paragraph 41 of the Complaint.

    G. Other EAI Drug Devices Never Threatened Mylan’s Monopoly9

        42.      Mylan admits that there have been other competitors to EpiPen products, which

have been sold at various times. Mylan denies the remaining allegations contained in Paragraph

42 of the Complaint.




9
         The allegations contained in the heading for Part G of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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     H. Auvi-Q Was an Innovative EAI Drug Device That Threatened Mylan’s Monopoly10

        43.      Mylan admits that the February 1, 2013 article, “Brothers Develop New Device to

Halt Allergy Attacks” exists and states that the content of the article speaks for itself. Mylan

lacks knowledge or information sufficient to form a belief concerning the truth of the remaining

allegations in Paragraph 43 of the Complaint, and therefore denies the same.

        44.      Mylan admits that Mylan Specialty L.P. had communications with Intelliject

concerning the potential licensing of a predecessor to Auvi-Q.                   Mylan further admits that

Intelliject licensed Auvi-Q to Plaintiff. Mylan lacks knowledge or information sufficient to form

a belief concerning the truth of the remaining allegations in Paragraph 44 of the Complaint, and

therefore denies the same.

        45.      Mylan admits that Auvi-Q is an epinephrine auto-injector device with voice

instructions. Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the remaining allegations in Paragraph 45 of the Complaint, and therefore denies the

same.

        46.      Mylan admits that the image from the website “Amazing and Atopic” exists and

states that the content of the image speaks for itself. Mylan lacks knowledge or information

sufficient to form a belief concerning the truth of the remaining allegations in Paragraph 46 of

the Complaint, and therefore denies the same.

        47.      Mylan admits that the February 1, 2013 article, “Brothers Develop New Device to

Halt Allergy Attacks” exists and states that the content of the article speaks for itself. Mylan

admits that Auvi-Q included audio instructions.                Mylan lacks knowledge or information



10
         The allegations contained in the heading for Part H of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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sufficient to form a belief concerning the truth of the remaining allegations in Paragraph 47 of

the Complaint, and therefore denies the same.

        48.      Mylan admits the June 7, 2012 FDA Memorandum for NDA No. 201739 exists

and states that the content of the Memorandum speaks for itself. Mylan denies the remaining

allegations contained in Paragraph 48 of the Complaint.

        49.      Mylan admits that the February 1, 2013 article, “Brothers Develop New Device to

Halt Allergy Attacks” exists and states that the content of the article speaks for itself. Mylan

admits that the article, “Auvi-Q Versus EpiPen: Preferences of Adults, Caregivers, and Children”

exists and states that the content of the article speaks for itself. Mylan denies the remaining

allegations contained in Paragraph 49 of the Complaint.

        50.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 50 of the Complaint, and therefore denies the same.

        51.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 51 of the Complaint, and therefore denies the same.

        52.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 52 of the Complaint, and therefore denies the same.

        53.      Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 53 of the Complaint, and therefore denies the same.

     I. Mylan Engaged in Anticompetitive Behavior to Maintain its Monopoly11

        54.      Mylan denies the allegations contained in Paragraph 54 of the Complaint.



11
         The allegations contained in the heading for Part I of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.



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       55.     As to the first two sentences of Paragraph 55 of the Complaint, Mylan admits that

providing rebates to third-party payors is common in the pharmaceutical industry, that rebates

are often solicited by payors, and that rebates are a form of price competition that helps to lower

prices. As to the third sentence, Mylan admits that such rebates are not “unheard of,” but lacks

knowledge or information sufficient to form a belief concerning the truth of the allegations as

stated, and therefore denies the same.       The remaining allegations in Paragraph 55 of the

Complaint state a legal conclusion as to which no response is required. To the extent a response

is required, Mylan denies the allegations.

       56.     Mylan denies the allegations contained in Paragraph 56 of the Complaint.

       57.     Mylan denies the allegations contained in Paragraph 57 of the Complaint.

       58.     Mylan denies the allegations contained in Paragraph 58 of the Complaint.

       59.     Mylan denies the allegations contained in Paragraph 59 of the Complaint.

       60.     Mylan denies the allegations contained in Paragraph 60 of the Complaint.

       61.     Mylan denies the allegations contained in Paragraph 61 of the Complaint.

       62.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 62 of the Complaint, and therefore denies the same.

       63.     The allegations in Paragraph 63 of the Complaint relate to a claim that has been

dismissed, and therefore, no response is required. See supra Paragraph 32. To the extent a

response is required, Mylan denies the allegations.

       64.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 64 of the Complaint, and therefore denies the same.

       65.     Mylan denies the allegations that it engaged in “exclusionary conduct” and

provided “never before made financial offers.” Mylan lacks knowledge or information sufficient



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to form a belief concerning the truth of the remaining allegations in Paragraph 65 of the

Complaint, and therefore denies the same.

       66.       Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 66 of the Complaint, and therefore denies the same.

       67.       To the extent the allegations in Paragraph 67 of the Complaint relate to a claim

that has been dismissed, no response is required. See supra Paragraph 32. Mylan denies the

remaining allegations contained in Paragraph 67 of the Complaint.

       68.       Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 68 relating to patient access to Auvi-Q, and therefore denies

the same. Mylan denies the remaining allegations contained in Paragraph 68 of the Complaint.

       69.       Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 69 of the Complaint, and therefore denies the same. Mylan

further states that the graph depicted in Paragraph 69 of the Complaint is intentionally and

materially misleading.

       70.       Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 70 of the Complaint, and therefore denies the same.

       71.       Mylan admits that in 2013 it announced a co-pay assistance program. As to the

allegations concerning the terms of any Sanofi co-pay assistance program, Mylan lacks

knowledge or information sufficient to form a belief concerning the truth of the allegations, and

therefore denies the same. Mylan denies the remaining allegations contained in Paragraph 71 of

the Complaint.




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     J. Mylan Specifically Intended to Squash the Competitive Threat from Auvi-Q12

        72.      Mylan admits that its CEO, Heather Bresch, made statements during Mylan Inc.’s

October 31, 2013 earnings call. However, Mylan denies Plaintiff’s characterization of those

statements. Mylan denies the remaining allegations contained in Paragraph 72 of the Complaint.

        73.      Mylan admits that its CEO, Heather Bresch, made statements during Mylan Inc.’s

August 7, 2014 earnings call. However, Mylan denies Plaintiff’s characterization of those

statements.

        74.      Mylan denies the allegations contained in Paragraph 74 of the Complaint.

              a. Mylan’s Rebates Were Designed to be Impossible for Auvi-Q to Match13

        75.      The allegations in Paragraph 75 of the Complaint state a legal conclusion

regarding monopoly power, as to which no response is required. To the extent a response is

required, Mylan denies the allegations. Mylan denies the remaining allegations contained in

Paragraph 75 of the Complaint.

        76.      Mylan denies the allegations contained in Paragraph 76 of the Complaint.

              b. Mylan’s Strong Arming of Schools14

        77.      Mylan admits that the January 13, 2012 article, “Girl, 7, Ate Peanut Before Dying

of Allergic Reaction at School” exists and states that the content of the article speaks for itself.

Mylan admits that certain state legislatures passed laws to allow school personnel to access

undesignated epinephrine auto-injectors for use in emergency situations. Mylan admits that in
12
         The allegations contained in the heading for Part J of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.
13
         The allegations contained in the heading for Part J(a) of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.
14
         The allegations contained in the heading for Part J(b) of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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2013, then-President Obama signed into law the School Access to Emergency Epinephrine Act.

Mylan lacks knowledge or information sufficient to form a belief concerning the truth of the

remaining allegations in Paragraph 77 of the Complaint, and therefore denies the same.

       78.     Mylan admits that the articles, “Mylan’s EpiPen School Sales Trigger N.Y.

Antitrust Probe,” “Behind the EpiPen Monopoly: Lobbying Muscle, Flailing Competition,

Tragic Deaths,” and “Family Matters: EpiPen Had High-Level Help Getting Into Schools” exist

and states that the content of the articles speak for themselves. Mylan denies the last sentence of

Paragraph 78 of the Complaint.

       79.     Mylan admits that the August 1, 2013 Mylan Investor Day presentation, “Seeing

is Believing” exists and states that the content of the presentation speaks for itself.

       80.     Mylan admits that it had a program to provide free or discounted epinephrine

auto-injector devices to schools. Mylan lacks knowledge or information sufficient to form a

belief concerning the truth of any allegations regarding Plaintiff’s schools program as stated in

Paragraph 80 of the Complaint, and therefore denies the same. Mylan denies the remaining

allegations contained in Paragraph 80 of the Complaint.

       81.     Mylan denies the allegations contained in Paragraph 81 of the Complaint.

       82.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of Plaintiff’s vague allegations regarding “EpiPen laws,” as stated in Paragraph 82 of the

Complaint, and therefore denies the same. Mylan denies the remaining allegations contained in

Paragraph 82 of the Complaint.

       83.     Mylan denies the allegations contained in Paragraph 83 of the Complaint.

       84.     Mylan denies the allegations contained in Paragraph 84 of the Complaint.

       85.     Mylan denies the allegations contained in Paragraph 85 of the Complaint.



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              c. Mylan Underpaid EpiPen Rebates to Medicaid Which Increased Funds for
                 Steep EpiPen Rebates to Commercial Third-Party Payors15

        86.      To the extent the allegations in Paragraph 86 of the Complaint relate to a claim

that has been dismissed, no response is required. See supra Paragraph 32. Moreover, the Court

recognized that “Sanofi’s antitrust claims are not based on Mylan’s alleged misrepresentations

about the EpiPen®’s drug classification.” Mem. & Order (ECF No. 98) at 23. To the extent a

response is required, Mylan admits that the October 7, 2016 article, “Mylan to Settle EpiPen

Overpricing Case for $465 million” exists and states that the content of the article speaks for

itself. Mylan denies the remaining allegations contained in Paragraph 86 of the Complaint,

including specifically the allegation that it “misclassfi[ed]” EpiPen products as a non-innovator

drug.

        87.      The allegations in Paragraph 87 of the Complaint relate to a claim that has been

dismissed, and therefore, no response is required. See supra Paragraph 32. Moreover, the Court

recognized that “Sanofi’s antitrust claims are not based on Mylan’s alleged misrepresentations

about the EpiPen®’s drug classification.” Mem. & Order (ECF No. 98) at 23. The allegations in

Paragraph 87 also state legal conclusions as to which no response is required. To the extent a

response is required, Mylan denies the allegations.

        88.      Mylan denies the allegations contained in Paragraph 88 of the Complaint.

Moreover, the Court recognized that “Sanofi’s antitrust claims are not based on Mylan’s alleged

misrepresentations about the EpiPen®’s drug classification.” Mem. & Order (ECF No. 98) at

23.

        89.      Mylan denies the allegations contained in Paragraph 89 of the Complaint.

15
         The allegations contained in the heading for Part J(c) of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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        90.      Mylan admits that the October 21, 2016 letter from Senator Elizabeth Warren to

Attorney General Loretta Lynch exists and states that the content of the letter speaks for itself.

Mylan denies the remaining allegations contained in Paragraph 90 of the Complaint.

              d. Mylan Sharply Raised the Price of EpiPen to Absorb Deep Rebates to
                 Commercial Payors16

        91.      Mylan admits that the WAC for EpiPen has increased since 2007, but denies the

allegations as stated in Paragraph 91 of the Complaint.

        92.      Mylan denies the allegations contained in Paragraph 92 of the Complaint.

              e. Mylan Engaged in Misleading Advertising and Other Promotional Activities
                 to Harm Auvi-Q’s Reputation17

        93.      Mylan admits that the June 7, 2012 FDA Memorandum for NDA No. 201739

exists and states that the content of the Memorandum speaks for itself. Mylan denies the

remaining allegations contained in Paragraph 93 of the Complaint.

        94.      As to the second sentence of Paragraph 94 of the Complaint, Mylan lacks

knowledge or information sufficient to form a belief concerning the truth of such allegations, and

therefore denies the same. As to the third sentence of Paragraph 94, Mylan admits that the

referenced correspondence exists and states that the content of the correspondence speaks for

itself. Mylan denies the remaining allegations contained in Paragraph 94 of the Complaint.

        95.      Mylan admits that a newspaper article contains quotations, including the language

excerpted in Paragraph 95 of the Complaint, that are attributed to Mylan CEO, Heather Bresch.

However, Mylan denies Plaintiff’s characterization of the statements referenced in Paragraph 95


16
   The allegations contained in the heading for Part J(d) of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.
17
   The allegations contained in the heading for Part J(e) of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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of the Complaint. Mylan denies the remaining allegations contained in Paragraph 95 of the

Complaint.

       96.    Mylan admits that its sales force used promotional materials that contained the

language stated in Paragraph 96 of the Complaint; Mylan, however, denies Plaintiffs’

characterization of these marketing materials, from which Plaintiffs have taken selected language

out of context.   Mylan denies the remaining allegations contained in Paragraph 96 of the

Complaint.

       97.    Mylan admits that its sales force used promotional materials that contained the

language stated in Paragraph 97 of the Complaint; Mylan, however, denies Plaintiffs’

characterization of these marketing materials, from which Plaintiffs have taken selected language

out of context.   Mylan denies the remaining allegations contained in Paragraph 97 of the

Complaint.

       98.    Mylan admits that its sales force used promotional materials that contained the

language stated in Paragraph 98 of the Complaint; Mylan, however, denies Plaintiffs’

characterization of these marketing materials, from which Plaintiffs have taken selected language

out of context.   Mylan denies the remaining allegations contained in Paragraph 98 of the

Complaint.

       99.    Mylan denies the allegations contained in Paragraph 99 of the Complaint.

       100.   Mylan denies the allegation contained in Paragraph 100 of the Complaint that

Mylan engaged in “efforts to spread negative coverage about Auvi-Q.” Mylan lacks knowledge

or information sufficient to form a belief concerning the truth of the remaining allegations in

Paragraph 100 of the Complaint, and therefore denies the same.




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     K. Mylan’s Conduct Harmed Sanofi18

        101.     Mylan denies the allegations contained in Paragraph 101 of the Complaint.

        102.     Mylan denies the allegations contained in Paragraph 102 of the Complaint.

        103.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 103 of the Complaint, and therefore denies the same.

        104.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 104 of the Complaint, and therefore denies the same.

        105.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 105 of the Complaint, and therefore denies the same.

        106.     The first and second sentences of Paragraph 106 of the Complaint contain legal

conclusions as to which no response is required. To the extent a response is required, Mylan

denies the allegations. Mylan specifically denies the allegations contained in Paragraph 106 of

the Complaint that “Mylan injured Sanofi” and engaged in “anti-competitive conduct.” Mylan

lacks knowledge or information sufficient to form a belief concerning the truth of the remaining

allegations in Paragraph 106 of the Complaint, and therefore denies the same.

        107.     Mylan denies the allegations contained in the first sentence of Paragraph 107 of

the Complaint. Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations in the second sentence of Paragraph 107 of the Complaint, and therefore

denies the same. As for the graph depicted in Paragraph 107 of the Complaint, Mylan denies the

allegation contained therein that Mylan engaged in “anticompetitive conduct.” Mylan further

states that the graph depicted in Paragraph 107 of the Complaint is intentionally and materially

misleading.
18
   The allegations contained in the heading for Part K of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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        108.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations contained in Paragraph 108 of the Complaint concerning Sanofi’s

conduct, and therefore denies the same. Mylan denies the remaining allegations contained in

Paragraph 108 of the Complaint.

        109.     Mylan denies the allegations contained in Paragraph 109 of the Complaint.

        110.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations contained in Paragraph 110 of the Complaint, and therefore denies the

same.

     L. Mylan’s Conduct Harmed U.S. Consumers19

        111.     Mylan denies the allegations contained in Paragraph 111 of the Complaint.

        112.     Mylan lacks knowledge or information sufficient to form a belief concerning the

truth of the allegations contained in Paragraph 112 of the Complaint, and therefore denies the

same.

        113.     Mylan denies the allegations contained in Paragraph 113 of the Complaint.

        114.     Mylan denies the allegations contained in Paragraph 114 of the Complaint.

        115.     Mylan denies the allegations contained in Paragraph 115 of the Complaint.

                             MARKET DEFINITION ALLEGATIONS

        116.     The allegations in Paragraph 116 of the Complaint state a legal conclusion as to

which no response is required.            To the extent a response is required, Mylan denies the

allegations.




19
         The allegations contained in the heading for Part L of the Factual Background of the Complaint involve
introductory material as to which no response is required. To the extent a response is required, Mylan denies the
allegations.

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       117.    The allegations in Paragraph 117 of the Complaint state a legal conclusion as to

which no response is required.      To the extent a response is required, Mylan denies the

allegations.

       118.    Mylan admits that EpiPen products are sold throughout the United States and that

people who suffer from anaphylaxis live across the country.          Mylan lacks knowledge or

information sufficient to form a belief concerning the truth of the remaining allegations in

Paragraph 118 of the Complaint, and therefore denies the same.

       119.    Mylan admits that intramuscular epinephrine is the first-line therapy for

anaphylaxis, as designated by the NIAID. Mylan admits that epinephrine auto-injector devices

are approved for use by patients and caregivers to treat anaphylaxis and are prescribed by

healthcare providers for that use by patients at risk for anaphylaxis. Mylan admits that patients

known to be at risk for anaphylaxis are recommended to carry epinephrine auto-injector devices.

Mylan denies the allegations contained in the last three sentences of Paragraph 119 as stated.

Mylan avers that the FDA does not evaluate whether “epinephrine,” without reference to any

specific product, is interchangeable or substitutable for any particular product. Further, the FDA

does not evaluate “EAI Drug Devices” as a category for “interchangeability” with other “drug

devices.” Mylan lacks knowledge or information sufficient to form a belief concerning the truth

of the remaining allegations in Paragraph 119 of the Complaint, and therefore denies the same.

       120.    Mylan admits that its former CFO, John Sheehan, made statements during Mylan

Inc.’s April 26, 2012 earnings call; however, Mylan denies Plaintiff’s characterization of the

statements referenced in Paragraph 120 of the Complaint. Mylan further denies that any

statement of its former CFO John Sheehan determines or acknowledges the “relevant product




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market” for purposes of antitrust law or this matter. Mylan denies the remaining allegations

contained in Paragraph 120 of the Complaint.

       121.    Mylan admits that Plaintiff sold Auvi-Q in the United States from January 2013

until October 2015. Mylan denies the remaining factual allegations contained in Paragraph 121

of the Complaint, and states that the remaining allegations in that Paragraph state legal

conclusions as to which no response is required. To the extent a response is required, Mylan

denies the allegations.

                                    MONOPOLY POWER

       122.    Mylan denies the allegations contained in Paragraph 122 in the Complaint.

       123.    Mylan admits that its former CFO, John Sheehan, was quoted during Mylan Inc.’s

April 26, 2012 earnings call.      However, Mylan denies Plaintiff’s characterization of the

referenced statements. Mylan admits that the August 1, 2013 Mylan Investor Day presentation,

“Seeing is Believing,” referenced in Paragraph 123 of the Complaint, exists and states that the

content of the presentation speaks for itself. Mylan denies the remaining allegations contained in

Paragraph 123 of the Complaint.

       124.    The allegations in Paragraph 124 of the Complaint state a legal conclusion as to

which no response is required. To the extent a response is required, Mylan denies the allegations

contained in Paragraph 124 of the Complaint.

       125.    Mylan admits that the WAC for EpiPen has increased since 2007, but denies the

allegations as stated in Paragraph 125 of the Complaint.

                                   BARRIERS TO ENTRY

       126.    Mylan denies the allegations contained in Paragraph 126 of the Complaint.




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       127.   Mylan admits that there have been other competitors to EpiPen products, which

have been sold at various times. Mylan admits that Twinject® is no longer sold. Mylan admits

that Teva has not obtained FDA approval for a generic epinephrine auto-injector device. Mylan

lacks knowledge or information sufficient to form a belief concerning the truth of the remaining

allegations in Paragraph 127 of the Complaint, and therefore denies the same.

       128.   The allegations in Paragraph 128 of the Complaint state legal conclusions as to

which no response is required.     To the extent a response is required, Mylan admits that

epinephrine auto-injectors must be prescribed by a professional and may not be sold in the

United States absent FDA approval. However, Mylan denies any legal conclusions based on the

FDA approval requirements for purposes of antitrust law or this matter. Mylan lacks knowledge

or information sufficient to form a belief concerning the truth of the allegation that

demonstrating bioequivalence “is a crucial hurdle for a new entrant to convince EpiPen

customers to switch to a new EAI drug device,” and therefore denies the same.

       129.   Mylan denies that “prescriptions for EAI drug devices are infrequently filled.”

Mylan lacks knowledge or information sufficient to form a belief concerning the truth of the

remaining allegations in Paragraph 129 of the Complaint, and therefore denies the same.

       130.   Mylan admits that its former CFO, John Sheehan, made statements during Mylan

Inc.’s March 4, 2014 earnings call. However, Mylan denies Plaintiff’s characterization of the

statements referenced in Paragraph 130 of the Complaint.          Mylan denies the remaining

allegations contained in Paragraph 130 of the Complaint.

       131.   Mylan admits that lawsuits have been filed related to the EpiPen patent. Mylan

denies the remaining allegations contained in Paragraph 131 of the Complaint.




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        132.     Mylan admits that the February 16, 2012 Press Release, “Mylan Inc., Mylan and

Pfizer Announce Epinephrine Auto-Injector Settlement Agreement,” referenced in Paragraph

132 of the Complaint, exists and states that the content of the Press Release speaks for itself.

The remaining allegations in Paragraph 132 of the Complaint state legal conclusions as to which

no response is required. To the extent a response is required, Mylan lacks knowledge or

information sufficient to form a belief concerning the truth of the allegations, and therefore

denies the same. Mylan denies the remaining factual allegations contained in Paragraph 132 of

the Complaint.

        133.     Mylan admits that a lawsuit was filed against Teva in connection with the EpiPen

patent. Mylan admits that the lawsuit was settled. Mylan admits that it filed a citizen petition

with the FDA regarding Teva’s proposed generic epinephrine auto-injector. Mylan admits that

its CEO, Heather Bresch, made statements during Mylan Inc.’s August 1, 2013 Investor Day

presentation. However, Mylan denies Plaintiff’s characterization of the statements referenced in

Paragraph 133 of the Complaint. Mylan denies the remaining allegations contained in Paragraph

133 of the Complaint.

        134.     Mylan denies the allegations contained in Paragraph 134 of the Complaint.

FIRST CLAIM FOR RELIEF: MYLAN’S EXCLUSIVE DEALING IN THE U.S. EAI
DRUG DEVICE MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT20

        135.     In response to Paragraph 135 of the Complaint, Mylan incorporates its responses

to the allegations of Paragraphs 1 through 134 as if fully set forth herein.

        136.     Mylan denies the allegations contained in Paragraph 136 of the Complaint.

        137.     Mylan denies the allegations contained in Paragraph 137 of the Complaint.


20
         The First Claim for Relief in the Complaint states a legal conclusion, as to which no response is required.
To the extent a response is required, Mylan denies the allegations.

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SECOND CLAIM FOR RELIEF: MYLAN’S DECEPTIVE CONDUCT TO FURTHER
ITS MONOPOLIZATION OF THE U.S. EAI DRUG DEVICE MARKET IN
VIOLATION OF SECTION 2 OF THE SHERMAN ACT21

        138.     In response to Paragraph 138 of the Complaint, Mylan incorporates its responses

to the allegations of Paragraphs 1 through 137 as if fully set forth herein.

        139.     Mylan denies the allegations contained in Paragraph 139 of the Complaint.

        140.     Mylan denies the allegations contained in Paragraph 140 of the Complaint.

THIRD CLAIM FOR RELIEF: MYLAN’S OVERALL SCHEME TO MONOPOLIZE
THE U.S. EAI DRUG DEVICE MARKET IN VIOLATION OF SECTION 2 OF THE
SHERMAN ACT22

        141.     In response to Paragraph 141 of the Complaint, Mylan incorporates its responses

to the allegations of Paragraphs 1 through 140 as if fully set forth herein.

        142.     Mylan denies the allegations contained in Paragraph 142 of the Complaint.

        143.     Mylan denies the allegations contained in Paragraph 143 of the Complaint. The

allegations in Paragraph 143 of the Complaint state legal conclusions as to which no response is

required. To the extent a response is required, Mylan denies the allegations.

                                          RELIEF REQUESTED

        Mylan denies that Plaintiff is entitled to any relief.                To the extent Mylan has not

specifically admitted any allegation herein, it is denied. Further, Mylan states that it is entitled to

any relief that this Court may deem just or appropriate, in equity or at law.

        144.     Mylan denies that Plaintiff is entitled to the relief requested.

        145.     Mylan denies that Plaintiff is entitled to the relief requested.

        146.     Mylan denies that Plaintiff is entitled to the relief requested.

21
         The Second Claim for Relief in the Complaint states a legal conclusion, as to which no response is
required. To the extent a response is required, Mylan denies the allegations.
22
         The Third Claim for Relief in the Complaint states a legal conclusion, as to which no response is required.
To the extent a response is required, Mylan denies the allegations.

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       147.    Mylan denies that Plaintiff is entitled to the relief requested.

                                   AFFIRMATIVE DEFENSES

       In further response to Plaintiff’s Complaint, subject to discovery, based on information

and belief, and without assuming the burden of proof on any issue for which Plaintiff bears the

burden of proof, Mylan asserts the following additional affirmative defenses:

                               FIRST AFFIRMATIVE DEFENSE

                                       (Failure to State a Claim)

       The Complaint fails to state a claim upon which relief can be granted against Mylan

under Section 2 of the Sherman Act to the extent that, among other things: (1) Plaintiff fails to

allege any facts showing that Mylan’s rebates were below-cost; (2) Mylan’s rebates to state-

based Medicaid agencies are protected from antitrust liability under the Noerr-Pennington

doctrine; (3) allegedly deceptive marketing is not actionable under the Sherman Act; (4)

Plaintiffs fail to allege substantial foreclosure in a relevant antitrust market; (5) Plaintiff fails to

allege harm to competition; and (6) Plaintiff fails to allege injuries that were caused by Mylan’s

alleged conduct. The Court already dismissed “Sanofi’s exclusive dealing claims based on

discounts or rebates provided to state-based Medicaid agencies because they are barred by the

Noerr-Pennington doctrine.” Order (ECF No. 98) at 23.

                              SECOND AFFIRMATIVE DEFENSE

                                       (Procompetitive Benefits)

       The procompetitive benefits of Mylan’s alleged conduct substantially outweigh its

purportedly anticompetitive effects.




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                              THIRD AFFIRMATIVE DEFENSE

                                          (Price-Cost Test)

       To the extent Plaintiff’s Sherman Act claims are based on Mylan’s rebates, these claims

fail because Plaintiff cannot show that Mylan priced its rebates below its costs. Eisai, Inc. v.

Sanofi Aventis U.S., LLC, 821 F.3d 394, 408 (3d Cir. 2016).

                             FOURTH AFFIRMATIVE DEFENSE

                                   (Noerr-Pennington Immunity)

       To the extent any of Plaintiff’s claims are based on government petitioning activity by

Mylan, Mylan is immune from antitrust liability under the Noerr-Pennington doctrine. Prof’l

Real Estate Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 5660 (1993).

                              FIFTH AFFIRMATIVE DEFENSE

                                      (State Action Immunity)

       To the extent any of Plaintiff’s claims are based on conduct that was taken pursuant to a

“clearly articulated and affirmatively expressed . . . state policy” that is “‘actively supervised’ by

the State itself,” Mylan is immune from antitrust liability under the state action doctrine. Cal.

Retail Liquor Dealers Ass’n v. Midcal Aluminum, Inc., 445 U.S. 97, 105 (1980) (citation

omitted).

                              SIXTH AFFIRMATIVE DEFENSE

                                       (Article III Standing)

       Plaintiff has suffered no injury and does not have standing to assert a Sherman Act claim.




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                            SEVENTH AFFIRMATIVE DEFENSE

                                       (Antitrust Standing)

        Plaintiff lacks standing to bring an antitrust claim because it has not suffered “injury of

the type of the antitrust laws were intended to prevent and that flows from that which makes

defendant’s acts unlawful.” Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 334 (1990).

                             EIGHTH AFFIRMATIVE DEFENSE

                                     (Statute of Limitations)

        To the extent any of Plaintiff’s Sherman Act allegations exceed four years from the date

of the filing of the Complaint, such claims or allegations are barred by the four-year statute of

limitations under the Clayton Act, 15 U.S.C. § 15b.

                              NINTH AFFIRMATIVE DEFENSE

                                        (Judicial Estoppel)

        Plaintiff is barred from taking a position or asserting a claim that is contrary to the

positions it took in Eisai, Inc. v. Sanofi-Aventis, U.S., LLC, No. 08-CV-04168 (D.N.J.), or any

other cases where it has asserted positions inconsistent with the positions that it asserts in its

Complaint, because (1) Plaintiff’s position in this case is “clearly inconsistent with its earlier

position”; (2) Plaintiff “succeeded in persuading a court to accept [its] earlier position”; and (3)

Plaintiff “would derive an unfair advantage or impose an unfair detriment [on Mylan] if not

estopped.” Johnson v. Lindon City Corp., 405 F.3d 1065, 1068 (10th Cir. 2005) (internal

quotations omitted). In Eisai, the court accepted Plaintiff’s prior positions, and yet now Plaintiff

is playing fast and loose with the judicial system by taking a clearly inconsistent position in this

case.




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                              TENTH AFFIRMATIVE DEFENSE

                                   (Failure to Mitigate Damages)

       If Plaintiff recovers any damages, such award must be reduced by all damages

attributable to Plaintiff’s failure to take appropriate action and mitigate damages prior to and

subsequent to the institution of this action.

                            ELEVENTH AFFIRMATIVE DEFENSE

                                       (No Duplicative Relief)

       To the extent any relief sought by Plaintiff would be duplicative of relief sought by

Plaintiff or other plaintiffs in other lawsuits, subjecting Mylan to the possibility of multiple

recoveries, such recovery is barred by the Fifth and Eighth Amendments of the United States

Constitution.

                            TWELVTH AFFIRMATIVE DEFNESE

                                 (Proportional Allocation of Fault)

       Any damage, loss, or liability sustained by Plaintiff must be reduced, diminished, and/or

barred in proportion to the wrongful conduct of persons or entities other than Mylan, including

third parties, under the principle of equitable allocation, recoupment, set-off, proportionate

responsibility, and/or comparative fault.

                          THIRTEENTH AFFIRMATIVE DEFENSE

                                        (Settlement Credits)

       In the event that a settlement is reached between Plaintiff and any other person or entity

for conduct related to this action, Mylan is entitled to any settlement credits permitted by law.




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                         FOURTEENTH AFFIRMATIVE DEFENSE

                                    (Waiver, Laches, Estoppel)

       Plaintiff’s claims are barred in whole or in part by the doctrines of waiver, laches, and

estoppel.

                           FIFTEENTH AFFIRMATIVE DEFENSE

                                 (Res Judicata/Collateral Estoppel)

       To the extent Plaintiff’s claims or the issues raised by Plaintiff’s claims have been

previously litigated, Plaintiff’s claims are barred, in whole or in part, from any recovery under

the doctrines of res judicata and/or collateral estoppel.

                           SIXTEENTH AFFIRMATIVE DEFENSE

                                              (Release)

       Plaintiff’s claims are barred to the extent they have been released through settlement in

any prior litigation, including without limitation the settlement of the qui tam action that Plaintiff

brought against Mylan for alleged underpayment of rebates pursuant to the Medicaid Drug

Rebate Program.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

                                           (Due Process)

       Plaintiff’s claims are barred to the extent Plaintiff seeks excessive statutory or punitive

damages in violation of the Due Process Clause.




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                                      COUNTERCLAIMS

       Defendant and Counterclaim-Plaintiff Mylan Specialty L.P. (“Mylan Specialty”) for its

Counterclaims against Plaintiff and Counterclaim-Defendant Sanofi-Aventis U.S. LLC

(“Sanofi”) alleges as follows:

                                       INTRODUCTION

       1.      In 2007, Mylan acquired the predecessor to Mylan Specialty, Dey Pharma L.P.,

which had the rights to market EpiPen products. When Mylan Specialty acquired the EpiPen

Auto-Injector, awareness among the general public of anaphylaxis risk and treatment was low,

and those vulnerable to life-threatening allergic reactions were likely to be unprepared for an

emergency.     Additionally, numerous obstacles hindered access to epinephrine as a first line

treatment: physicians often encouraged the use of products ineffective for the treatment of

anaphylaxis; parents and caregivers often lacked the confidence to timely administer the auto-

injector; and federal and local laws did not permit trained people at public venues, such as nurses

at schools, the latitude to administer “undesignated” epinephrine auto-injectors—i.e.,

epinephrine auto-injectors not prescribed to a particular individual—to, for instance, a student or

school visitor unexpectedly suffering from anaphylaxis.

       2.      To address these issues, Mylan Specialty invested substantial sums to increase

awareness of anaphylaxis risk and enhance access and training related to epinephrine auto-

injectors. Mylan also worked with various advocacy partners and concerned federal and state

legislators to remove barriers to access to epinephrine starting with the most vulnerable

population: children in schools. As a result, 48 states now permit “undesignated” epinephrine in

schools.    Additionally, in 2012, Mylan Specialty launched its EpiPen4Schools® program,

through which it has donated more than one million free EpiPen devices to schools. As of


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October 2017, epinephrine auto-injectors provided through the schools program had been used

more than 2,000 times to treat anaphylaxis in the school setting since 2014.

       3.      There can be no doubt that Mylan Specialty’s investment in access to epinephrine

has benefited those at risk for anaphylaxis—both those who know they are at risk and those who

do not. Mylan Specialty’s investment also has created valuable brand recognition.

       4.      The value of the EpiPen brand that Mylan Specialty created through its substantial

investment and effort has withstood the test of time, even though EpiPen products have had

competitors. In 2013, Sanofi introduced one such competitor product called Auvi-Q.

       5.      From the moment Sanofi launched Auvi-Q, it attempted to sow—and did sow—

confusion in the marketplace about whether the EpiPen Auto-Injector and Auvi-Q were

equivalent products, when it is clear that they are not. For example, Sanofi widely promoted

Auvi-Q as the “new EpiPen,” which implied that Auvi-Q was equivalent to, and would be

replacing, EpiPen. Sanofi also attacked the EpiPen Auto-Injector through a campaign of false

and misleading statements that suggested Auvi-Q was a superior product. And to top it off,

Sanofi competed unfairly by offering illegal cash payments to healthcare providers in exchange

for prescriptions and sales of Auvi-Q.

       6.      Through its course of conduct, Sanofi violated the Lanham Act, 15 U.S.C.

§ 1125(a), and committed common law unfair competition.           Mylan Specialty brings these

Counterclaims to hold Sanofi accountable for this misconduct. As a result of Sanofi’s illegal

scheme, Mylan Specialty has suffered damages by: (i) having its brand image, reputation, and

goodwill damaged and (ii) losing sales and customers. Mylan Specialty seeks to recover these

damages and other remedies available at law through these Counterclaims.




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                                            PARTIES

       7.      Counterclaim-Plaintiff Mylan Specialty is a limited partnership registered in the

State of Delaware that specializes in the development and distribution of prescription drugs for

the treatment of medical conditions. Mylan Specialty L.P. markets and distributes EpiPen

products in the United States.

       8.      Counterclaim-Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability

company with its principal place of business located in Bridgewater, New Jersey. From 2009 to

2016, Sanofi licensed Auvi-Q from Intelliject (now known as kaléo, Inc. (“kaléo”)) and marketed

it in North America from 2013 until Sanofi issued a total recall of Auvi-Q in October 2015.

                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over Mylan Specialty’s claims pursuant

to 28 U.S.C. § 1367 because they are compulsory and therefore fall within the ancillary

jurisdiction of the court, and pursuant to 28 U.S.C. § 1331 because one or more of Mylan

Specialty’s claims arises under federal law.

       10.     Venue is proper in this District with respect to this counterclaim pursuant to 15

U.S.C. § 1391 and 28 U.S.C. § 1407.

                                  FACTUAL ALLEGATIONS

                         Anaphylaxis and Epinephrine Auto-Injectors

       11.     Anaphylaxis is an acute systemic reaction with serious effects that can occur

within minutes of exposure to a triggering allergen (typically a food, insect sting, or medication).

Epinephrine is considered the first-line medication in treating anaphylaxis and, when

administered immediately following a triggering event, may help relieve symptoms and signs of

an allergic reaction.



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          12.   Because epinephrine auto-injectors are designed to be used in emergencies, it is

critically important that patients know how to correctly use their auto-injectors. As the FDA has

explained: “[u]nder high stress levels, the user is distracted and will have less time to make

decisions, consider multiple device outputs, follow complex operating logic, or physically

manipulate device components.”23 Thus, it is imperative that auto-injector products are not only

appropriately designed, but also that patients and caregivers are familiar with, and well trained in

using, the auto-injectors they are prescribed. Grave consequences can result if one auto-injector

is substituted for another without proper instructions and preparation.

                                     The EpiPen Auto-Injector

          13.   The EpiPen Auto-Injector is an epinephrine auto-injector that allows patients to

quickly and safely self-administer a prescribed amount of epinephrine through a spring-loaded

needle.

          14.   Before Mylan Specialty acquired the EpiPen Auto-Injector, public awareness of

anaphylaxis, its effects, and its treatment was very poor. Recognizing that this lack of awareness

and training put millions of Americans at risk of serious harm or even death in the event of an

anaphylactic event, Mylan Specialty embarked on a massive—and costly—endeavor to increase

awareness of anaphylaxis risk and access and training related to epinephrine auto-injectors.

          15.   As a result of Mylan Specialty’s efforts, millions more patients have access to,

and know how to properly use, epinephrine auto-injectors. And, through its EpiPen4Schools®

program, Mylan Specialty has donated more than one million free EpiPen Auto-Injectors to more

than 73,000 participating schools, helping to ensure that they are prepared in the event of an

emergency. Mylan Specialty, through its schools program, provides these EpiPen devices free of

23
        Guidance for Industry and FDA Premarket and Design Control Reviewers: Medical Device Use-Safety:
Incorporating Human Factors Engineering into Risk Management (July 18, 2000) at 10.

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charge to any requesting school, thereby helping to ensure access to this important product.

Hundreds if not thousands of free EpiPen devices provided through the Mylan program have

been used during incidents of anaphylaxis in schools.                Given that 25% of the reported

anaphylaxis events occur in individuals with no previously known allergies, ensuring access to

epinephrine auto-injectors in public places is critically important.

        16.     Mylan Specialty’s success in increasing awareness of anaphylaxis and building

brand recognition of the EpiPen Auto-Injector took years and came at significant expense to

Mylan Specialty.

                                  Auvi-Q & Sanofi’s Sales Strategy

        17.     In January 2013, Sanofi launched Auvi-Q, an epinephrine auto-injector device

used for the treatment of anaphylaxis, in the United States. Auvi-Q differed from the EpiPen

Auto-Injector because, among other things, it had a different design and used voice instructions.

        18.     When the FDA approved Auvi-Q for sale in the United States, it assigned Auvi-Q

a “BX” rating in the “Orange Book,”24 a publication in which FDA identifies approved drug

products and provides information about whether those products have “therapeutic equivalents.”

A BX rating reflects the FDA’s determination that the listed drug is not considered to be

therapeutically equivalent to other products—meaning that, in general, the products cannot be

substituted for one another. In assigning Auvi-Q a BX rating, the FDA clearly communicated

that Auvi-Q and the EpiPen Auto-Injector products are not clinically comparable or equivalent in

order to prevent confusion and medication errors.

        19.     At the time Sanofi launched Auvi-Q, the EpiPen Auto-Injector had a three

decade-long track record and history in the United States. Accordingly, and largely as a result of


24
        The Orange Book is formally titled “Approved Drug Products with Therapeutic Equivalence Evaluations.”

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Mylan Specialty’s investments, the EpiPen Auto-Injector had built up a widespread reputation of

being reliable and trusted.

       20.     Rather than trying to compete on the merits of its product, Sanofi launched a

massive campaign to confuse and mislead consumers and doctors about the EpiPen Auto-Injector

and to promote Auvi-Q by any means necessary. As detailed below, these unfair and unlawful

tactics took a number of forms.

       21.     First, Sanofi made false and misleading representations about the EpiPen Auto-

Injector and Auvi-Q, including but not limited to representing that Auvi-Q was the “new

EpiPen” and that Auvi-Q was superior to the EpiPen Auto-Injector in a number of respects.

These types of misrepresentations would be actionable in any industry. But they are especially

problematic in the context of pharmaceutical sales. The FDA has repeatedly emphasized that the

only acceptable basis for comparative claims between two products is a head-to-head study of

the products being compared. No such head-to-head consumer preference or safety study of

Auvi-Q and the EpiPen Auto-Injector exists, and so Sanofi’s comparative claims are necessarily

baseless and unlawful.

       22.     Sanofi also made claims of patient preference, which implied at least equivalent

safety and efficacy—and in some cases superior efficacy—as between Auvi-Q and the EpiPen

Auto-Injector. To be proper, such claims must be substantiated by clinical data and evidence,

and supported by a validated methodology. Here, they were not.

       23.     Sanofi’s comparative claims further created a substantial risk of confusion, which

also makes them improper. Most physicians—let alone patients—are unlikely to understand the

important differences among bioequivalence, therapeutic equivalence, and interchangeability.

They are likely to believe that “bioequivalent” means “interchangeable”—a false belief and



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precisely the confusion with which Sanofi intended to sow in a vulnerable population. When

physicians believe products are interchangeable, they may not ensure that the same patient

always obtains the same product. But indiscriminate switching of products could be dangerous

when the products are so different. If medical professionals start prescribing Auvi-Q to EpiPen

product users believing that Auvi-Q is simply an updated version of the EpiPen Auto-Injector,

patients may not appreciate the differences between the products or think that the required

training is unnecessary. That is enormously problematic given that epinephrine auto-injectors

are used when patients or their caregivers are under extreme stress and time pressure.

       24.     Additionally, Sanofi offered illegal cash payments to physicians’ offices in

exchange for increased prescriptions and sales of Auvi-Q. This kind of kickback also constitutes

unfair competition.

                      Sanofi Makes False and Misleading Representations
                         About the EpiPen Auto-Injector and Auvi-Q

       25.     In an effort to convince physicians and patients at risk for anaphylaxis to choose

Auvi-Q instead of EpiPen products, and to increase sales of Auvi-Q at Mylan Specialty’s

expense, Sanofi undertook a widespread scheme to disseminate false and/or misleading

information about both products. In the course of aggressively marketing and promoting Auvi-

Q, Sanofi made false and misleading claims that (i) Auvi-Q is bioequivalent and therapeutically

equivalent to, and therefore interchangeable with or a substitute for, the EpiPen Auto-Injector,

and (ii) were intended to denigrate the EpiPen Auto-Injector and harm its reputation in order to

convert EpiPen Auto-Injector customers to Auvi-Q.         Sanofi’s multi-pronged, systemic, and

unlawful campaign caused Mylan Specialty to lose customers and damaged the strong brand

reputation that Mylan Specialty had spent years and many millions of dollars creating.




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   A. False and Misleading Statements That Auvi-Q is Equivalent to the EpiPen Auto-Injector.

       26.     Sanofi engaged in a large-scale campaign to position Auvi-Q as the “new EpiPen”

in order to mislead potential prescribers into believing that Auvi-Q was equivalent to the EpiPen

Auto-Injector. In furtherance of this coordinated campaign, Sanofi sales representatives made

false and misleading statements to physicians’ offices that: the EpiPen Auto-Injector was “no

more”; Auvi-Q was replacing the EpiPen Auto-Injector; and Auvi-Q was the “new EpiPen,” i.e.

the updated replacement product for EpiPen.

       27.     For the reasons described above, these misrepresentations not only harmed Mylan

Specialty, but also caused a substantial risk of confusion and harm to patients.

       28.     Notwithstanding these significant risks, Sanofi sales representatives repeatedly

made misleading statements suggesting that Auvi-Q and the EpiPen Auto-Injector were

therapeutically interchangeable.

       29.     For example, in January 2013, an Auvi-Q sales representative told an

administrative assistant at the Allergy, Ear, Nose & Throat Center, Ltd. in Arizona that, among

other things, Auvi-Q was replacing the EpiPen, that EpiPen was no more, and that Auvi-Q was

the new up-and-coming EpiPen. Likewise, in January 2013, an Auvi-Q sales representative told

a medical assistant at the same practice that, among other things, Auvi-Q was going to replace

the EpiPen Auto-Injector and that it would be like the new EpiPen.

       30.     Further, another Auvi-Q sales representative left a business card at a different

physician’s office with the words “new EpiPen” handwritten on it.

       31.     On information and belief, the conduct described herein was not the isolated

conduct of rogue sales representatives, but rather was part of a widespread and continuous

pattern of Sanofi sales representatives promoting and disseminating similar misleading messages


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to physicians’ offices across the country in an effort to pump up Auvi-Q sales by damaging the

reputation and goodwill associated with EpiPen products.

       32.    Sanofi’s statements regarding Auvi-Q’s supposed equivalence with the EpiPen

Auto-Injector were false. As discussed above, when the FDA approved Auvi-Q for sale in the

United States, it assigned Auvi-Q a “BX” rating in its “Orange Book,” clearly communicating

that Auvi-Q was not clinically equivalent to or interchangeable with the EpiPen Auto-Injector.

       33.    Sanofi’s statements regarding Auvi-Q’s supposed interchangeability with the

EpiPen Auto-Injector were not only false, they also were improper comparative claims.

       34.    Sanofi’s statements were designed to mislead, and did mislead, medical personnel

and patients into believing that the EpiPen Auto-Injector was being replaced by Auvi-Q.

Medical staff were deceived into believing that the EpiPen Auto-Injector had been phased out

and that their EpiPen Auto-Injector patients needed to be switched to Auvi-Q. Indeed, some

practitioners’ offices reported that, after discussion with Sanofi sales representatives, they

believed that the EpiPen Auto-Injector was no longer being marketed or sold.

       35.    Further, during the 20132014 time period, Sanofi—through its website—

promoted Auvi-Q using a question and answer format designed to misleadingly suggest that

Auvi-Q and the EpiPen Auto-Injector were bioequivalent and therefore interchangeable. These

statements, like those made by Sanofi’s sales force, were misleading and created a substantial

risk of confusion among healthcare providers, caregivers, and patients, and a substantial risk of

harm to patients. They also were improper comparative claims.

   B. Unsubstantiated and Misleading Claims Designed to Disparage the EpiPen-Auto Injector
      and Harm its Reputation.

       36.    In addition to trying to mislead physicians and patients into thinking that Auvi-Q

was the “new EpiPen,” Sanofi engaged in a broad effort to denigrate the EpiPen Auto-Injector

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and tarnish the strong brand recognition and reputation that Mylan Specialty worked so hard to

create. Sanofi’s illegal conduct on this front consisted of, among other things, widely spreading

false information through promotional press releases and statements by sales representatives that:

(i) prior to Auvi-Q, patients did not carry or know how to use their epinephrine auto-injectors;

(ii) Auvi-Q is more “patient friendly” than the EpiPen Auto-Injector; (iii) only Auvi-Q has a

retractable needle, falsely implying that Auvi-Q is the only auto-injector with needlestick

protection; and (iv) Auvi-Q can withstand higher temperatures than the EpiPen Auto-Injector.

               i. Misrepresentations that patients do not carry or know how to use their auto-
                  injectors.

       37.     One unlawful tactic that Sanofi used to try to convert physicians and patients to

Auvi-Q was to spread false and misleading information suggesting that there was a significant

problem of patients and caregivers failing to carry their EpiPen Auto-Injectors and/or not

knowing how to properly use their auto-injectors.

       38.     For example, on January 28, 2013, Sanofi issued and widely disseminated a

promotional press release titled “Sanofi Announces Auvi-Q, the First and Only Voice-Guided

Epinephrine Auto-Injector, is Now Available in the U.S.” (the “Press Release”). In the Press

Release, Sanofi asserted that many patients and caregivers do not carry their epinephrine auto-

injectors as recommended and that there is concern that epinephrine auto-injectors may not be

used correctly during an emergency. Sanofi, through its Press Release, implied that these

failures put patients at risk of death. Specifically, Sanofi stated: “two large surveys . . . show that

two-thirds of patients and caregivers do not carry their epinephrine auto-injectors as

recommended, and nearly half worry that others will not know how to use their or their child’s

epinephrine auto-injector correctly during an emergency.           Multiple studies have found an

association between delay in epinephrine administration and death from anaphylaxis.”

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       39.     The obvious and intended implication of these claims is that EpiPen products are

deficient because they are difficult to carry and use, and therefore put patients at risk of death.

That is false. There is no data to support these claims. The only published survey addressing

this issue was funded by Sanofi and suffers from a number of limitations, including failure to use

validated measures.    Importantly, this Sanofi-funded survey concludes that “[w]hether the

observed preference for Auvi-Q will result in patients carrying and correctly administering the

device will need to be determined in further studies.”

       40.      Moreover, if there was any doubt about Sanofi’s intention to denigrate EpiPen

products when it made the statements in its Press Release, later statements by Sanofi sales

representatives put that doubt to rest. To take just a few examples of statements made in

furtherance of Sanofi’s false advertising campaign:

      In 2013, an Auvi-Q sales representative left a handwritten note in a physician’s office
       stating that a “Recent [Journal of Allergy and Clinical Immunology in Practice] survey
       showed 71% do not always carry Epi . . . and over half had usage challenges. Auvi-Q is
       easy to carry & easy to use!” On information and belief, Auvi-Q sales representatives
       left similar notes in physicians’ offices across the country.

      Sanofi sales representatives made the false and misleading claims that, before Auvi-Q,
       58% of at-risk adults did not always carry their epinephrine auto-injectors, that 71% of
       caregivers of at-risk children did not always carry their epinephrine auto-injectors, and
       that nearly half of at-risk adults worried that others would not know how to use their
       epinephrine auto-injectors.

      Sanofi sales representatives told healthcare providers that EpiPen Auto-Injector patients
       carry around training devices mistakenly thinking they are live units, but that with Auvi-
       Q there will be no mistake because the trainer is grayed out.

      Sanofi sales representatives distributed documents to providers’ offices to explain how
       doctors could utilize medical necessity forms to bypass prior authorization requirements
       related to Auvi-Q. Among the bogus reasons the Sanofi representatives fed to
       physicians’ offices as to why Auvi-Q was “necessary” were that patients failed to
       properly use their EpiPen Auto-Injectors, that patients failed to carry their EpiPen Auto-
       Injectors, and that patients were afraid to use their EpiPen Auto-Injectors.



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       41.     These claims are false. Sanofi had no basis, and can offer no substantiation, for

its representations that a substantial number of patients were put at risk of death by failing to

carry their EpiPen Auto-Injectors, or that patients and caregivers were concerned about the

EpiPen Auto-Injector’s ease of use.

               ii.    Misrepresentations about patient satisfaction with Auvi-Q.

       42.     Another illegal tactic that Sanofi employed in furtherance of its coordinated

campaign was to spread unsubstantiated and misleading claims that patients were uniquely

satisfied with Auvi-Q, or preferred Auvi-Q over the EpiPen Auto-Injector.

       43.     Sanofi’s Press Release, for example, touted Auvi-Q’s design, terming Auvi-Q a

“breakthrough in auto-injector device design” and emphasized attributes suggesting that Auvi-

Q’s design made it convenient to carry and use. Thus, Sanofi not only disparaged the EpiPen

Auto-Injector, but also implied that Auvi-Q was a superior product.

       44.     Lest any potential customer fail to understand that the purpose of these statements

or that Sanofi’s intent in making them was to disparage the EpiPen Auto-Injector, on the day the

Press Release was issued, Anne Whitaker, Sanofi’s then-President of North American

Pharmaceutical Operations, stated expressly: “The device, about the size of a credit card, fits in

pockets and purses, and is more patient friendly than Mylan Inc.’s rival product EpiPen”

(emphasis added). Ms. Whitaker further stated that she gave her own 14-year old niece a

“trainer[] to carry around” and that “[s]he thought it was just cool,” as compared to patient

reluctance to carry other epinephrine auto-injectors “because of the stigma of having to use an

injection.”

       45.     In addition to being unsubstantiated and misleading, Sanofi’s statements in the

Press Release and through Ms. Whitaker were also improper comparative claims.


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       46.       Additionally, Auvi-Q sales representatives left Auvi-Q sales aids at physicians’

offices stating, among other things that: (i) “the parents/patients have really been satisfied with

this new device!”; (ii) there has been “[w]onderful patient response on Auvi-Q”; “[t]he

overwhelming majority of patients . . . prefer Auvi-Q as evidenced by clinical experience and

peer reviewed surveys”; and Auvi-Q is “[p]referred on All Kids.” There is no data to support

these claims. On information and belief, Auvi-Q sales representatives left these and similar

notes in physicians’ offices across the country.

       47.       In 2013, at the time Auvi-Q sales representatives left these sales aids in these

physicians’ offices, Auvi-Q had only been on the market for a few months and it was likely that

few (if any) patients or parents had used Auvi-Q devices in an emergency. Accordingly, it is

virtually impossible that these patient satisfaction claims could have been substantiated.

Moreover, regardless of whether the “wonderful patient response” claim meant a patient

“clinical” response or patient “satisfaction” response, this claim is not capable of being

substantiated.

       48.       Ultimately, there is no basis or substantiation for the representations that Auvi-Q

is superior to the EpiPen Auto-Injector or that Auvi-Q is more patient-friendly than the EpiPen

Auto-Injector. These claims are false.

                 iii.   Misleading claims regarding needlestick protection

       49.       Sanofi also spread misleading information suggesting that only Auvi-Q had

needlestick protection and false information to the effect that patients were accidentally being

stuck with needles while using the EpiPen Auto-Injector.




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        50.    For example, Sanofi issued and widely disseminated a sales aid stating that Auvi-

Q is “the first and only EAI with . . . [a r]etractable needle mechanism designed to help prevent

accidental needle sticks.”

        51.    Sanofi’s Press Release similarly touted that “Auvi-Q also features an automatic

retractable needle mechanism to help prevent accidental needle sticks.”

        52.    Although these statements are literally true, they misleadingly suggest that Auvi-

Q is the first or only epinephrine auto-injector with needlestick protection and/or that accidental

needle sticks are a common occurrence with other epinephrine auto-injectors. The EpiPen Auto-

Injector, however, also offers needlestick protection. It does so not by means of a retractable

needle, but by means of a design ensuring that the needle is covered at all times except at the

moment the injection is being given. Because the means by which needlestick protection is

provided is far less important to consumers than the fact of needlestick protection, Sanofi’s

statements likely confused consumers or led them to believe that Auvi-Q is the first epinephrine

auto-injector with needlestick protection.    Accordingly, Sanofi’s statements were false and

misleading.

        53.    Upon information and belief, Sanofi sales representatives also widely promoted a

misleading and unsubstantiated study about EpiPen devices supposedly causing lacerations in

patients—particularly children—that was designed to make patients fearful of using their EpiPen

Auto-Injectors.    Moreover, upon information and belief, Sanofi sales representatives

disseminated false and unsubstantiated statements about providers “accidentally” injecting

EpiPen Auto-Injectors into their thumbs or hands while demonstrating how to use EpiPen Auto-

Injectors.




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       54.     Sanofi’s false and misleading statements were intended to have the effect, and did

have the effect, of implying that Auvi-Q is the only auto-injector with needlestick protection.

               iv.      Misleading statements regarding heat tolerance

       55.     Sanofi sales representatives also falsely represented that Auvi-Q could withstand

higher temperatures than other epinephrine auto-injectors.         For example, a Sanofi sales

representative in Texas boasted that Auvi-Q is perfect for hot Texas summers because it can

withstand high temperatures.

       56.     This claim is false; there is no basis or substantiation for it, as the storage

temperature range for Auvi-Q is the same as that of the EpiPen Auto-Injector (68 to 77 degrees

Fahrenheit). This claim also misleadingly implies that only Auvi-Q is suitable for use in warm

weather locations, which is false.

                     Sanofi Engaged in Other Unfair and Unlawful Conduct

       57.     In addition to making the false and misleading statements set forth above, Sanofi

engaged in other unfair and unlawful tactics designed to promote Auvi-Q at the expense of the

EpiPen Auto-Injector.

       58.     In physicians’ offices around the country, Sanofi threw EpiPen Auto-Injector

informational and promotional materials in the garbage and replaced those materials with Auvi-

Q promotional materials.

       59.     Sanofi also offered kickbacks to increase sales of Auvi-Q. Sanofi has a long

history of offering kickbacks to increase sales of its products. For example, in 2012, it agreed to

pay $109 million to the DOJ to settle claims that Sanofi violated the False Claims Act by




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offering kickbacks to physicians to induce them to prescribe one of its products in an attempt to

gain market share over a more affordable competitor product.25

        60.      True to form, Sanofi used similar tactics here to obtain an illegal edge over Mylan

Specialty by offering illicit remuneration to health care providers in the form of cash payments—

the most naked kickback imaginable.

        61.      Specifically, at least one Sanofi sales representative offered to make cash

payments to healthcare providers in exchange for their writing of Auvi-Q prescriptions. There is

no more naked or obvious example of a kickback than this—a bald exchange of money for

prescriptions of a pharmaceutical product. Upon information and belief, Sanofi was aware of

this conduct but did not remove the sales representative from the Auvi-Q sales force, choosing

instead to shift the representative to another territory.                 Sanofi’s failure to dismiss the

representative immediately gives rise to an inference that the conduct was not only acceptable to

Sanofi but more widespread, as Mylan Specialty expects to demonstrate through discovery.

        62.      Sanofi’s actions constituted unfair competition and have damaged Mylan

Specialty. Sanofi’s actions were part of a uniform nationwide scheme that was designed to

unlawfully thwart open and fair competition in all states in which it marketed Auvi-Q, which

caused harm to Mylan Specialty and others.

        63.      Auvi-Q could not compete head-to-head with the EpiPen Auto-Injector. Thus,

Sanofi tried every trick in the book to inflate utilization of its product, including by offering

illegal financial incentives—that is, until Sanofi had to withdraw Auvi-Q from the market

because of a defect.


25
         See Department of Justice, Sanofi U.S. Agrees to Pay $109 Million to Resolve False Claims Act Allegations
of Free Product Kickbacks to Physicians (Dec. 19, 2012), https://archives.fbi.gov/archives/boston/press-
releases/2012/sanofi-u.s.-agrees-to-pay-109-million-to-resolve-false-claims-act-allegations-of-free-product-
kickbacks-to-physicians.

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                      Sanofi’s Illegal Actions Damaged Mylan Specialty

       64.     That Sanofi’s marketing and sale of Auvi-Q was an unmitigated failure, and that

Sanofi recalled Auvi-Q for safety reasons less than two years after launching the product, does

not mean that Sanofi’s unfair and illegal conduct did not damage Mylan Specialty.

       65.     To the contrary, Mylan Specialty suffered, and continues to suffer, harm to its

brand image and reputation due to Sanofi’s willingness to engage in illegal activities to convert

EpiPen Auto-Injector customers to Auvi-Q customers, to gain preferred formulary status, and to

increase sales of Auvi-Q at Mylan Specialty’s expense. As a result of Sanofi’s unfair and

unlawful conduct, Mylan Specialty also suffered damages in the form of lost sales and business

opportunities. Sanofi’s unfair and unlawful conduct also forced Mylan Specialty to offer higher

rebates and discounts to PBMs and payors than it otherwise would have, further damaging

Mylan Specialty.

       66.     Sanofi’s actions discussed above were deliberate, willful, and wanton, and done

with full knowledge that its assertions constitute illegal actions. Sanofi engaged in these illegal

activities throughout the United States.

                                 FIRST CLAIM FOR RELIEF

                   Commercial Disparagement and False Advertising Under
                           the Lanham Act, 15 U.S.C. § 1125(a)

       67.     Mylan Specialty realleges and incorporates by reference the allegations in

Paragraphs 1 through 66 of the Counterclaims as set forth above as if fully set forth herein.

       68.     Sanofi and its representatives and agents made false and misleading statements,

including but not limited to direct communications to physicians’ offices and through written

promotional materials, about the nature and quality of Mylan Specialty’s EpiPen Auto-Injector

product and Auvi-Q, including that: (i) the EpiPen Auto-Injector is no longer on the market,

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Auvi-Q is the “new EpiPen,” or Auvi-Q is replacing the EpiPen Auto-Injector; (ii) the EpiPen

Auto-Injector and Auvi-Q are bioequivalent and/or therapeutically interchangeable; (iii) Auvi-Q

is superior to and preferred by more physicians and patients than the EpiPen Auto-Injector; (iv)

prior to Auvi-Q, patients did not carry and/or know how to use their epinephrine auto-injectors;

(v) Auvi-Q is the only epinephrine auto-injector to have needlestick protection or that patients

feared injection with the EpiPen Auto-Injector; and (vi) Auvi-Q can withstand higher

temperatures than the EpiPen Auto-Injector.        These statements are literally false and/or

misleading commercial speech in violation of the Lanham Act, 15 U.S.C. § 1125(a).

       69.    Sanofi’s false and misleading statements were made in interstate commerce, and

in the context of commercial promotion, insofar as they were made for the purpose of converting

EpiPen Auto-Injector patients to Auvi-Q patients and of harming Mylan Specialty’s and the

EpiPen Auto-Injector’s reputation in the marketplace.

       70.    Sanofi’s false and misleading statements have caused substantial harm to Mylan

Specialty in the marketplace, and constitute commercial disparagement actionable under the

Lanham Act, 15 U.S.C. § 1125(a), as false and misleading descriptions or representations about a

competitor’s products. Mylan Specialty is entitled to all relief available for such false and

misleading statements, including but not limited to disgorgement of Sanofi’s ill-gotten profits

and treble damages. See id. § 1117(a).

       71.    Sanofi’s false and misleading advertising statements likely deceived physicians

and consumers about whether: the EpiPen Auto-Injector is still on the market; Auvi-Q has

replaced the EpiPen Auto-Injector; the EpiPen Auto-Injector and Auvi-Q are bioequivalent,

therapeutically equivalent, or interchangeable; patients carried their EpiPen Auto-Injectors;

patients knew how to use their EpiPen Auto-Injectors; Auvi-Q is superior to and preferred by



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more physicians and patients than the EpiPen Auto-Injector; EpiPen Auto-Injectors have

needlestick protection; patients are or should be afraid of using EpiPen Auto-Injectors; and Auvi-

Q can withstand higher temperatures than the EpiPen Auto-Injector.

       72.     Sanofi’s false and misleading advertising statements were made with the purpose

of influencing, and in fact have influenced, the prescribing and purchasing decisions of

physicians and consumers.

       73.     Sanofi has offered, advertised, and promoted Auvi-Q to physicians and patients

across the United States. Sanofi’s false and misleading statements have been disseminated and

used throughout the country as part of its common scheme and plan, having effects that are

widespread and not inhibited by any particular submarket or state line, thus causing widespread

and significant harm throughout the United States. Consequently, Sanofi’s false and misleading

statements impact interstate commerce.

       74.     Sanofi made its false and misleading statements knowingly or recklessly to

physicians and patients.

       75.     Mylan Specialty has suffered substantial harm as a result of these false and

misleading statements. Mylan Specialty has incurred actual damages as a result of Sanofi’s

conduct as it has suffered harm to the goodwill and reputation of its brand and that of the EpiPen

Auto-Injector through Sanofi’s false and misleading statements. Mylan Specialty is entitled to

treble damages and disgorgement of ill-gotten profits gained from Sanofi’s unlawful conduct, as

well as enhanced damages in accordance with 15 U.S.C. § 1117.




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                               SECOND CLAIM FOR RELIEF

                               Common Law Unfair Competition

       76.     Mylan Specialty realleges and incorporates by reference the allegations in

Paragraphs 1 through 66 of the Counterclaims as set forth above as if fully set forth herein.

       77.     Sanofi and its representatives and agents made false and misleading statements

about the nature and quality of Mylan Specialty’s EpiPen Auto-Injector product and Auvi-Q,

including that: (i) the EpiPen Auto-Injector is no longer on the market, Auvi-Q is the “new

EpiPen,” or Auvi-Q is replacing the EpiPen Auto-Injector; (ii) the EpiPen Auto-Injector and

Auvi-Q are bioequivalent, therapeutically equivalent, or interchangeable; (iii) Auvi-Q is superior

to and preferred by more physicians and patients than the EpiPen Auto-Injector; (iv) prior to

Auvi-Q, patients did not carry and/or know how to use their epinephrine auto-injectors; (v) Auvi-

Q is the only epinephrine auto-injector to have needlestick protection or that patients feared

injection with the EpiPen Auto-Injector; and (vi) Auvi-Q can withstand higher temperatures than

the EpiPen Auto-Injector.

       78.     These statements are literally false and/or misleading commercial speech that

were intended to cause, and did cause, confusion among prescribing physicians and consumers

about whether the EpiPen Auto-Injector is still on the market; Auvi-Q has replaced the EpiPen

Auto-Injector; the EpiPen Auto-Injector and Auvi-Q are equivalent; patients carried their EpiPen

Auto-Injectors; patients knew how to use their EpiPen Auto-Injectors; Auvi-Q is superior to and

preferred by more physicians and patients than the EpiPen Auto-Injector; EpiPen Auto-Injectors

have needlestick protection; patients are or should be afraid of using EpiPen Auto-Injectors; and

Auvi-Q can withstand higher temperatures than the EpiPen Auto-Injector.




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       79.     These statements were made in the context of commercial promotion, insofar as

they were made for the purpose of converting EpiPen Auto-Injector patients to Auvi-Q patients

and of harming Mylan Specialty’s and the EpiPen Auto-Injector’s reputation in the marketplace.

       80.     Sanofi’s false and misleading advertising statements were made with the purpose

of influencing, and in fact have influenced, the prescribing and purchasing decisions of

physicians and consumers.

       81.     Sanofi made its false and misleading statements knowingly or recklessly to

physicians and patients.

       82.     Sanofi also competed unfairly by offering illicit cash payments to physicians,

which were intended to influence prescribing and purchasing decisions by health care customers,

and to cause Mylan Specialty harm in the market where it directly competed with Sanofi.

       83.     Mylan Specialty has suffered substantial harm as a result of Sanofi’s unfair sales

and marketing tactics and is entitled to damages from Sanofi as well as all other remedies

provided under law, as set forth in the Prayer for Relief below.

                                    PRAYER FOR RELIEF

       84.     Mylan Specialty repeats and realleges the allegations contained in each and every

preceding paragraph of its counterclaim.

       85.     With respect to its counterclaim, Mylan Specialty requests that the Court grant the

following relief:

               a.     Judgment in favor of Mylan Specialty and against Sanofi;

               b.     An appropriate amount of monetary damages as determined at trial,

                      including, but not limited to, Mylan Specialty’s lost business and profits,




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                      Sanofi’s ill-gotten and unjustly derived revenues, and Mylan Specialty’s

                      expenditures in repairing its goodwill with physicians and consumers;

              c.      Disgorgement of ill-gotten profits gained from Sanofi’s unlawful conduct;

              d.      Punitive and/or exemplary damages;

              e.      Pre- and post-judgment interest on all monetary damages, as permitted by

                      law;

              f.      Costs of suit herein, including expert witness fees, as permitted by law;

              g.      Attorneys’ fees, as permitted by law;

              h.      Statutory damages, including multipliers and equitable enhancements, as

                      permitted by law; and

              i.      Any such further relief as the Court deems just and proper.

                                   JURY TRIAL DEMAND

       Pursuant to Fed. R. Civ. P. 38(b), Mylan Specialty demands a trial by jury of the

counterclaims asserted.


 DATED: January 16, 2018                         Respectfully submitted,

                                                  /s/ Philip A. Sechler
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                                                  and Mylan Specialty L.P.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 16, 2018, I electronically filed the foregoing Answer,

Affirmative Defenses, and Counterclaims of Mylan Inc. and Mylan Specialty L.P.with the Clerk

of Court for the United States District Court, District of Kansas by using the Court’s CM/ECF

system, which will serve electronic notification of this filing to all counsel of record.




                                                    /s/ Philip A. Sechler
                                                    Philip A. Sechler




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